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    ORIGINAL
                                                           FILED IN THE
KENJI M. PRICE # 10523                             UNITED STATES DISTRICT COURT
United States Attorney                                 DISTRICT OF HAWAII
District of Hawaii
                                                      "- AUG 15 2019
                                                   at _o'clock and hi>~n._M -     t1tYl/
MICHAEL NAMMAR                                         SUE BEITIA, CLERK
Assistant United States Attorney
Room 6-100, PJKK Federal Building
3 00 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Fax: (808) 541-2958
E-Mail: michael.nammar@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAll

UNITED STATES OF AMERICA,           )
                                    )
                                        CR. NO.   c 'R 1 9 - 0 0 1 0 5            so~~
                  Plaintiff,        )   INDICTMENT
                                    )
      vs.                           )   (18 U.S.C. § 152(1)]
                                    )
LIANE WILSON,                 (01) )
  aka Liana Shanti,                )
ROBERT BEARD,                 (02) )
                                   )
                  Defendants.      )
                                   )
                                   )



                               INDICTMENT
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The Grand Jury charges:

                        Concealment of Bankruptcy Assets
                              (18 u.s.c. § 152(1))

       From on or about and between May 17, 2011, and August 20, 2014, both

dates being approximate and inclusive, within the District of Hawaii, LIANE

WILSON and ROBERT BEARD, the defendants, did knowingly and fraudulently

.conceal property belonging to the bankruptcy estate in In re Liane N. Wilson, case

number 11-01392, in the U.S. Bankruptcy Court for the District of Hawaii, namely

cashier's checks from the sale of a diamond ring, a long-term disability insurance

policy and a claim made on the long-term disability policy, and business assets of

Rawganic Vegan, from the trustee charged with control of the debtor's property

and from the creditors and the United States Trustee.

      All in violation of Title 18, United States Code, Section 152( 1).

                             FORFEITURE NOTICE

       1. The allegations contained in all paragraphs of this Indictment are hereby

realleged and incorporated by reference for the purpose of noticing forfeitures

pursuant to Title 18, United States Code, Section 981(a)(l)(C), and Title 28,

United States Code, Section 2461 (c).

      2. The United States hereby gives notice to the defendants that, upon

conviction of the offense charged in this Indictment, the government will seek
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forfeiture, in accordance with Title 18, United States Code, Section 981(a)(l)(C),

and Title 28, United States Code, Section 2461 (c), of any and all property, real or

personal, that constitutes or is derived from proceeds traceable to the violation of

Title 18, United States Code, Section 152( I), alleged in this Indictment.

              3. Ifby any act or omission of the defendant, any of the property

subject to forfeiture described in paragraph 2 herein:

        a. cannot be located upon the exercise of due diligence;

        b. has been transferred or sold to, or deposited with, a third party;

        c. has been placed beyond the jurisdiction of the court;

        d. has been substantially diminished in value; or

        e. has been commingled with other property which cannot be subdivided

without difficulty,

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the United States of America w ill be entitled to forfeiture of substitute property up

to the value of the prope1iy described above in paragraph 2, pursuant to Title 21,

United States Code, Section 853(p ), as incorporated by Title 28, United States

Code, Section 2461 ( c ).

       DATED: August 15, 2019, Honolulu, Hawaii.

                                               A TRUE BILL


                                              /s/ Foreperson, Grand Jury
                                              Foreperson, Grand Jury




KENJI M. PRICE
United States Attorney


MICHAEL NAMMAR
Assistant United States Attorney




Un ited States v. Liane Wil son, et al.
Indictment
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